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                         UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION


      Baby Doe et al.,

                    Plaintiffs,
                                                              Civil Action No. 3: 22-cv-49
      v.

      JOSHUA MAST et al.,

                    Defendants,
      and

      UNITED STATES SECRETARY OF STATE
      ANTONY BLINKEN et al.,

                  Nominal Defendants.


                                           ORDER

            Having considered Nominal Defendants’ April 17, 2023 Motion to Seal, ECF

     No. 205, and for good cause shown, and the requirements of Local Civil Rule 9(b)

     having been met, it is hereby ORDERED that Nominal Defendants’ Motion is

     granted. It is further ORDERED that Nominal Defendants’ Memorandum in Support

     of their Motion for Protective Order, as well as Exhibit A and the unredacted version

     of Exhibit B to that Memorandum, are filed under seal.

            SO ORDERED.



            Dated: 4/19/23
                                                      Joel C. Hoppe
                                                      United States Magistrate Judge
